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IN THE UNITED sTATEs DISTRICT coURTOSI‘-’S.§r / l ` 05
FoR THE WEsTERN DISTRICT oF TENNEss§§ /%r 2_
EAsTERN DIVIsIoN ' 40
)
MICHELE sILER, )
)
Plaintiff, )
) No. 1-04-1161-JDT-sta
v. ) JUDGE ToDD
) MAGIsTRATE ANDERsoN
FIRST sTATE BANK, )
)
Defendant. )

 

AGREED PROTECTIVE ORDER

 

By agreement of the parties, Det`endant First State Bank and Plaintiff Michelle Siler, by and
through their attomeys, in order to protect private and confidential information contained in
documents that the parties produce, it is hereby STIPULATED and AGREED between the parties
and ORDERED pursuant to Rule 26 of the Federal Rules of Civil Procedure that:

l . F or the purpose of this Order, the term “Protected Documents” means any documents,
testimony, discovery responses, court papers, or other things, in any form, that either of the parties
believes to contain confidential or proprietary information about either party, or about Defendant's
current or former employees or customers, and any copies or reproductions of such Confidential
Information, or any portion thereof, or any information contained in or taken from the Cont`ldential
lnformation.

2. The Protected Documents shall be stamped or otherwise marked “C ONFIDENTlAL--
SUBJECT TO PROTEC'I`IVE ORDER” by the party that produces them prior to producing them.

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3. To the extent any person seeks to file any of the Protected Documents with the Coult,
such person shall file the Protected Documents under seai.

4. Access to the Protected Docurnents shall, except as otherwise expressly provided in
this Order, be restricted to:

(a) the party receiving the Protected Documents (whether Plaintiff or Defendant) and any
legal counsel who makes a formal appearance before the Court on behalf of the party, which shall be
limited to attorneys of record retained as trial counsel by the party and such of their staff and
personnel who are directly working on this case;

(b) The United States District Court for the Westem District ofTennessee, including the
CIerk of the court and court personnel;

(c) Any expert witnesses performing services at the request of the party receiving the
Protected Documents; and

(d) Witnesses during the course of a deposition or trial.

5. Any person who is given access to the Protected Documents, other than court
personnel or counsel in this case or their employees, shall first be provided with a copy of this Order
by the party giving access (whether Plaintiff or Defendant) and shall sign an acknowledgment in the
form attached that he/ she agrees to be bound by the terms of this Order.

6, ln no event may a party or any person who is given access to the Protected Documents
make copies for or allow anyone else to copy or disclose to anyone other than the parties and their
counsel any contents of the Protected Documents.

7. All persons given access to the Protected Documents under the terms of this Order are
permitted to use the Protected Documents and the information contained in the Protected Documents

only for purposes of this lawsuit, and no person given access to the Protected Docurnents under the

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terms of this Order may publish the Protected Documents, in whole or in part, or any of the
information contained in the Protected Documents, or use the Protected Documents for any other
purpose

8. This Order shall be without prejudice to the right of a party to bring before the Court
at any time the issue of whether any person identified pursuant to Paragraph 4 of this Order is or is
not qualified to have access to the Protected Documents.

9. Nothing in this Order shall be deemed a waiver of either party's right to oppose, for
any reason, the production or use in this action of information obtained from the Protected
Documents.

10. Each party shall maintain a list of the names and addresses of all persons (other than
each party's counsel and counsel‘s employees) whom they have given access to the Protected
Documents or their contents, in whole or in part, and all signed acknowledgments as required by
Paragraph 5 of this Order. Such list and acknowledgments shall be subject to the Court’s review at
any time.

11. Within 30 days after final determination of this action by appeal or otherwise, the
parties shall assemble and return to the opposite party's counsel all Protected Documents that they
have received through discovery, all duplicates of the Protected Documents, as well as all computer
disks, documents, and other things, including, but not limited to, summaries and abstracts, that
contain or reflect restricted information from the Protected Documents. Any privileged materials
may be destroyed by counsel in lieu of returning same.

12. This Order shall be without prejudice to the right of any party in this action to seek a
further protective order or modification of this Order.

13. Any person violating this Order may be held in contempt of Court.

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IT IS SO ORDERED, this day of , 200_.

MZ).S<>M

United tafes District Court ludge

 

APPROVED FOR ENTRY:

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ACKNOWLEDGEMENT

I acknowledge that 1 have read the attached Agreed Protective Order in the lawsuit styled
Michelle Siler v. First State Bank, No. 1-04-1 161 -JDT-sta, pending in the U.S. District Court for the
Westem District of Tennessee (hereinaf`ter referred to as "the Lawsuit"). 1 further acknowledge that I
understand the contents of the Agreed Protective Order, and I agree to comply with and be bound by
the restrictions relating to the disclosure of information and/or documents relating to the Lawsuit
(which are defined in the Agreed Protective Order as "the Protected Documents") that may be
provided to me by Plaintiff‘s or Defendant's Counsel or their representatives

Printed Name:

 

Signature:

 

Date:

 

Signature of Counsel:

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:04-CV-01161 was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

